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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

_______________________________________
                                        )
UNITED STATES OF AMERICA,               )
                                        )
             v.                         )              Criminal No. 22-cr-15 (APM)
                                        )
ELMER STEWART RHODES, III et al.,       )
                                        )
       Defendants.                      )
_______________________________________ )

                                              ORDER

         To ensure that the proceedings in this matter are conducted in a fair and orderly manner, it

is hereby ordered that the following rules shall govern these proceedings:

   I.       Schedule: Trial in this matter shall begin with jury selection on September 27, 2022,
            at 9:30 a.m. in Courtroom 23. Trial will be held on Monday through Thursday from
            9:00 a.m. to 5:00 p.m. and on Friday from 9:00 a.m. to 12:30 p.m., unless a different
            schedule is announced. The doors to Courtroom 23 will open approximately
            30 minutes before proceedings begin.

            The court will not sit on September 30, October 5 (Yom Kippur), and October 10, 2022
            (Columbus/Indigenous Peoples’ Day). Trial is expected to last five weeks.

   II.      Courtroom 23

            A. Reserved Seating

                1. The first row of the left side of the courtroom gallery (facing the bench) is
                   reserved for government counsel and personnel.

                2. The first row of the right side of the courtroom gallery (facing the bench) is
                   reserved for members and representatives of the defense team and Defendants’
                   family members.

                3. The second row of the left side of the courtroom gallery (facing the bench) is
                   reserved for members of the media.

                4. The second row of the right side of the courtroom gallery (facing the bench) is
                   reserved for court staff and others as designated by the Court.

                5. The third through fifth rows of the courtroom gallery will be open to members
                   of the public and the media and will be filled on a first-come, first-served basis,
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                 as directed by court staff. Interested parties may wait in line at a designated
                 location outside of the courtroom.

             6. Seating for sketch artists will be identified by the Court.

          B. All electronic devices must be turned completely off and stored while in
             Courtroom 23, except that attorneys representing the parties in this matter may use
             their laptops and electronic devices as necessary and authorized by the Court
             during the proceedings. No person may use an electronic device within the gallery
             of the courtroom unless explicitly authorized by the Court.

          C. No conversations, inappropriate gestures, or activities that would disrupt the
             proceedings are permitted.

III.      Remote Locations

          A. Overflow Courtroom: As needed, and to the extent courthouse space allows, there
             will be a designated “overflow courtroom” to allow members of the public and
             media to watch a live audio/video feed of proceedings in Courtroom 23. The
             location of the overflow courtroom, if available, will be posted outside
             Courtroom 23.

             1. Seating in the overflow courtroom will be on a first-come, first-served basis.

             2. The live audio/video feed from Courtroom 23 will be fixed on the witnesses,
                counsel, and the Court, with no focus on the jury.

             3. No cameras, cellular telephones, or video or audio recording devices may be
                used in the overflow courtroom. All electronic devices must be turned off and
                stored.

             4. Exhibits admitted into evidence and published to the jury will be shown to the
                extent technical capabilities allow.

          B. Media Room (Prettyman Courthouse – Room 1206): Members of the media may
             view a live audio/video feed from Courtroom 23 in the Media Room, located in
             Room 1206 on the first floor of the Courthouse.

             1. The live audio/video feed from Courtroom 23 will be fixed on the witnesses,
                counsel, and the Court, with no focus on the jury.

             2. Members of the media may use electronic devices in Media Room for
                notetaking, live written reporting, blogging, and tweeting, but photographs,
                video and audio recordings, and transmission of court proceedings are strictly
                prohibited. There shall not be broadcasting of any kind from the Media Room.
                Any violation of this policy may result in the banning of all laptops and
                electronic devices from the Media Room, the closing of the Media Room, the


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               imposition of contempt sanctions against the violator individually, and, if
               attending in the capacity of an employee or agent, against the employer or
               principal. In addition, any members of the media who violate this policy will
               be prohibited from entering the courthouse with electronic devices in the future.

           3. Members of the media who wish to use the Media Room must sign in each day
              and comply with the Media Room Rules of Use, as posted in the Media Room.

        C. No Remote Audio Access: There will not be a public telephone line to call in to
           listen to the proceedings.

IV.     Compliance with Court Staff Requests: Members of the public or press who wish to
        view the proceedings from Courtroom 23, the overflow courtroom, or the Media Room
        must comply with any requests made by any Court Security Officer, personnel of the
        United States Marshal Service, or court staff. Members of the media must display
        credentials upon request.

V.      Access to Admitted Exhibits: Upon request, the admitting party shall make available
        to the media at the end of each trial day a copy of any admitted exhibit that has been
        published to the jury and not restricted by the Court for dissemination. The government
        may make exhibits available using the “drop box”technical solution described in In re:
        Media Access to Video Exhibits in Pretrial Hearings During the COVID-19 Pandemic,
        Standing Order No. 21-28 (BAH) (May 14, 2021).

VI.     Prohibition on Recording, Transmission and Broadcasting: Consistent with this Court’s
        Local Rules and the Media Policy of the U.S. Courts of the D.C. Circuit (available at:
        https://www.cadc.uscourts.gov/internet/home.nsf/Content/VL++Rules+Policies+Proc
        edures+-+Media%20Information+-+Media+Policy), the use of electronic devices to
        take photographs, make audio or video recordings, or transmit live audio or video is
        strictly prohibited at all times. See LCrR 53.1.1.

VII.    Press Conferences and Interviews: Interviews and press conferences may not be
        conducted inside the Courthouse. Members of the media, including camera crews,
        must not block or crowd entrances to the courthouse or annex as people are attempting
        to enter or exit, or in any other manner impede passage by any person who has business
        with the Courts.

VIII.   Access to Jury Selection and Juror Contact and Security

        A. Limited seats will be available for members of the public and media to observe
           jury selection and the individual voir dire process.

        B. Except as authorized by the Court, any attempt to contact or interact with jurors, to
           obtain the location of jurors’ places of employment, or to otherwise ascertain
           jurors’ identities in any way, before the juror is dismissed from service by the
           Court, is strictly prohibited.



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          C. Sketch artists preparing drawings of court proceedings are prohibited from drawing
             detailed sketches of any member of the jury. Silhouettes with no distinguishing
             features are permitted.

          D. Conversations, interviews, and written communication with jurors or prospective
             jurors before they are dismissed from service is prohibited. This includes
             communication with (1) prospective jurors before completion of voir dire and
             (2) selected jurors, including alternate jurors, before the Court has discharged the
             members of the jury at the conclusion of their jury service.

          E. After the Court has discharged the jury for the final time, any selected juror may
             consent to speak with whomever they wish concerning the case; however no
             selected juror is obligated to do so and there must not be further attempts to talk to
             a juror who has indicated a desire not to discuss the case. Counsel shall
             familiarize themselves with Local Criminal Rule 24.2 concerning
             communications with jurors.

   IX.    Courthouse Masking Rules: Consistent with the policy of this District Court, all
          persons in public areas of the courthouse must wear a mask that covers the nose and
          mouth. Public areas include public elevators, public corridors, public restrooms, the
          atrium, and the cafeteria. Masks also must be worn in the courtroom, overflow
          courtroom, and Media Room, except as otherwise provided by the Court.




Dated: September 20, 2022                                          Amit P. Mehta
                                                             United States District Judge




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